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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 8    JOHN ROBERT DEMOS,

 9                              Petitioner,                CASE NO. C19-1095 MJP-BAT

10            v.                                           REPORT AND
                                                           RECOMMENDATION
11    DONALD R. HOLBROOK,

12                              Respondent.

13           Bar-order litigant John Demos filed an application to proceed in forma pauperis with a

14   proposed 28 U.S.C. § 2254 habeas petition. Dkt. 1. An Order of this Court, however, provides

15   for the summary dismissal of any petition by Mr. Demos that seeks an extraordinary writ

16   pursuant to 28 U.S.C. §§ 1651, 2253 or 2254, unless accompanied by the filing fee. See Demos v.

17   Stanley, MC97-0031-JLW (W.D. Wash. Mar. 13, 1997); see also Demos v. U.S. Dist. Court for

18   Eastern Dist. of Washington, 925 F.2d 1160 (9th Cir. 1991) (barring Mr. Demos’s petitions

19   seeking extraordinary writs pursuant to 28 U.S.C. §§ 1651, 2253, or 2254 directed at the United

20   States District Courts for the Eastern and Western Districts of Washington unless accompanied

21   by a filing fee).

22           As petitioner has submitted no filing fee, the Court recommends that, pursuant to the

23   Court’s Order of March 13, 1997, this matter be DISMISSED. Moreover, Mr. Demos may not




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 1   proceed with a second or successive habeas petition here unless and until the Ninth Circuit

 2   authorizes its filing. See 28 U.S.C. § 2244(b)(3)(A). A proposed Order is attached. This matter

 3   may be noted for consideration immediately.

 4          DATED this 17th day of July, 2019.

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                                                         BRIAN A. TSUCHIDA
 7                                                       Chief United States Magistrate Judge

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